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AO91 (Rev. 12/03) Criminal Complaint                                                          AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:18-po-5760
Daniel AMEZQUITA-Perez
A201 524 305 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about        November 27, 2018        in                 Cameron                   County, in

the                                         Southern District Of Texas                                           defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                          1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Brownsville, Texas on November 27, 2018. The defendant is a citizen of Mexico who entered
the United States illegally by swimming across the Rio Grande River near Brownsville, Texas on November 27, 2018 thus
avoiding immigration inspection.

Defendant had $190 Mexican pesos at time of apprehension.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
CORRECT.



Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Fayett, Bernardo I. Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Fayett, Bernardo I.        Border Patrol Agent
Sworn to before me and signed in my presence,                                 Printed Name of Complainant



November 29, 2018                                                      at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
